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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA,
Plaintiff,

v. Civil Action No. 17-10058-GAO
$71,010 IN UNITED STATES,
CURRENCY, SEIZED ON
AUGUST 19, 2016

Defendant.

MICHAEL C. DORION,
Clairnant.

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FINAL JUDGMENT AND ORDER OF FORFEITURE
0’TOOLE, JR., D.J.

This Court having allowed the Panies’ Joint Motion for Final Judgment and Order of
Forfeiture, it is hereby ORDERED, ADJUDGED and DECREED:

l. Judgment by agreement of the Parties is hereby entered (l) for the forfeiture of
$63,909 in United States currency (the “Forfeited Currency”) to the United States, pursuant to 21
U.S.C. § 881(a)(6); and (2) for the release of $7,101 in United States currency (the “Released
Currency”) to Michael C. Dorion, via his attomey, Joseph B. Simons, Esquire.

2. The Forfeited Currency shall be disposed of by the United States Drug
Enforcement Administration, pursuant to the provisions of the Settlement Agreement entered

into between the Parties, and applicable law.

3- The Released Currency shall be returned to Michael C. Dorion, via his attorney,

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Joseph B. Simons, Esquire, by the United States Drug Enforcement Administration, pursuant to
the provisions of the Settlement Agreement entered into between the Parties, and applicable law.
4. Any claim of interest of any other parties claiming any right, title, or interest in or
to the Forfeited Currency and/or the Released Currency is hereby held in default and dismissed.
5. This Court shall retainjurisdiction in this case solely for the purpose of enforcing
the terms of this Judgment. Otherwise, this Order shall be, and hereby is, the full and fmal
disposition of this civil forfeiture action.

DONE and ORDER.ED in Boston, Massachusetts, this Z._ILt day of |une , 2017.

/s/ George A. O'Toole, Ir.

GEORGE A. O’TOOLE, JR.
United States District Judge

